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                                       United States District Court
                                             Western District
                               Exhibits Log: 6:20-cv-585 WSOU V GOOGLE
                                6:20-cv-585 WSOU V GOOGLE, 10/2/2023



EXHIBIT     DESCRIPTION                                                  RLS IDENTIFIED ADMITTED
Pla-355     GOOG-WSOU585-00068569                                        No   10/3/2023   10/3/2023
                                                                              10:51 AM    10:51 AM

Pla-364     GOOG-WSOU585-00145547                                        No   10/3/2023   10/3/2023
                                                                              2:04 PM     2:04 PM

Pla-365     GOOG-WSOU585-00146095                                        No   10/3/2023   10/3/2023
                                                                              11:28 AM    11:26 AM

Pla-397     GOOG-WSOU585-00194935                                        No   10/3/2023   10/3/2023
                                                                              9:35 AM     9:35 AM

Pla-398     GOOG-WSOU585-00220791                                        No   10/3/2023   10/3/2023
                                                                              9:36 AM     9:36 AM

Pla-399     GOOG-WSOU585-00222347                                        No   10/3/2023   10/3/2023
                                                                              9:38 AM     9:38 AM

Pla-411     GOOG-WSOU585-FIN-000017                                      No   10/3/2023   10/3/2023
                                                                              2:09 PM     2:09 PM

Pla-412     GOOG-WSOU585-FIN-000051                                      No   10/3/2023   10/3/2023
                                                                              11:45 AM    11:45 AM

Pla-448     BRAZOS-GOOALL-0012551                                        No   10/3/2023   10/3/2023
                                                                              9:29 AM     9:29 AM

Pla-449     BRAZOS-GOOALL-0012552                                        No   10/3/2023   10/3/2023
                                                                              9:29 AM     9:29 AM

Pla-450     BRAZOS-GOOALL-0012553                                        No   10/3/2023   10/3/2023
                                                                              9:29 AM     9:29 AM

Pla-451     BRAZOS-GOOALL-0012554                                        No   10/3/2023   10/3/2023
                                                                              9:29 AM     9:29 AM

Pla-452     BRAZOS-GOOALL-0012555                                        No   10/3/2023   10/3/2023
                                                                              9:30 AM     9:30 AM

Pla-486     BRAZOS-GOOALL-0012546                                        No   10/3/2023   10/3/2023
                                                                              8:43 AM     8:43 AM

Pla-490     GOOG-WSOU585-00139528v2                                      No   10/3/2023   10/3/2023
                                                                              10:56 AM    10:56 AM

Pla-491     GOOG-WSOU585-00139523                                        No   10/3/2023   10/3/2023
                                                                              9:19 AM     9:19 AM

Pla-493     GOOG-WSOU585-00227039                                        No   10/3/2023   10/3/2023
                                                                              9:00 AM     9:00 AM

Pla-643-A   1BRAZOS-GOOALL-0013632                                       No   10/3/2023   10/3/2023
                                                                              2:22 PM     2:22 PM

Pla-643-B   2BRAZOS-GOOALL-0013632                                       No   10/3/2023   10/3/2023
                                                                              4:00 PM     2:22 PM

Pla-788     GOOG-WSOU585-FIN-000022                                      No   10/3/2023   10/3/2023
                                                                              2:15 PM     2:13 PM

Pla-904     GOOG-WSOU585-PA-00000476                                     No   10/2/2023   10/2/2023
                                                                              2:51 PM     2:51 PM

Pla-905     GOOG-WSOU585-FIN-000060v2                                    No   10/3/2023   10/3/2023
                                                                              2:10 PM     2:10 PM

Pla-906     GOOG-WSOU585-FIN-000062v2                                    No   10/3/2023   10/3/2023
                                                                              2:10 PM     2:10 PM

Pla-907     GOOG-WSOU585-FIN-000063v2                                    No   10/3/2023   10/3/2023
                                                                              2:15 PM     2:13 PM

Def-026     WSOU GOOALL 0000407 WSOU GOOALL 0000408                      No   10/2/2023   10/2/2023
                                                                              2:12 PM     2:11 PM


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EXHIBIT    DESCRIPTION                                              RLS IDENTIFIED ADMITTED

Def-027    AQUA GOOALL 0000137 AQUA GOOALL 0000140                   No   10/2/2023   10/2/2023
                                                                          2:21 PM     2:21 PM

Def-035    WSOU GOOALL 0000390 WSOU GOOALL 0000406                   No   10/2/2023   10/2/2023
                                                                          2:16 PM     2:16 PM

Def-044    GOOG WSOU585 00004983 GOOG WSOU585 00004986               No   10/3/2023   10/3/2023
                                                                          11:55 AM    11:55 AM

Def-434    AQUA-GoDeZtHP0000728v2                                    No   10/3/2023   10/3/2023
                                                                          11:55 AM    11:55 AM

Joint-54   GOOG-WSOU585-00163315                                     No   10/3/2023   10/3/2023
                                                                          8:46 AM     8:46 AM

Joint-55   GOOG-WSOU585-00164684                                     No   10/3/2023   10/3/2023
                                                                          9:07 AM     9:07 AM

Joint-56   GOOG-WSOU585-00180717                                     No   10/3/2023   10/3/2023
                                                                          8:44 AM     8:44 AM

Joint-57   GOOG-WSOU585-00181811                                     No   10/3/2023   10/3/2023
                                                                          8:45 AM     8:45 AM

Joint-58   GOOG-WSOU585-00182172                                     No   10/3/2023   10/3/2023
                                                                          8:49 AM     8:49 AM

Joint-59   GOOG-WSOU585-00182362                                     No   10/3/2023   10/3/2023
                                                                          9:01 AM     9:01 AM

Joint-65   GOOG-WSOU585-00223296                                     No   10/2/2023   10/2/2023
                                                                          4:47 PM     4:47 PM

Joint-66   GOOG-WSOU585-00223319                                     No   10/2/2023   10/2/2023
                                                                          4:48 PM     4:48 PM

Joint-90   WSOU-585_8737961-0000308                                  No   10/2/2023   10/2/2023
                                                                          2:15 PM     2:15 PM




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